         Case 1:19-cr-00018-ABJ Document 160 Filed 07/31/19 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

              Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

      MOTION FOR AN ORDER PERMITTING DEFENDANT ROGER J. STONE
            TO ISSUE EARLY RETURN SUBPOENA DUCES TECUM
      TO CROWDSTRIKE HOLDINGS, INC., CROWDSTRIKE SERVICES, INC.,
                       AND CROWDSTRIKE, INC.,
        PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 17(c)

       Defendant, Roger J. Stone, Jr., files this Motion for an Order permitting him to issue

subpoenas duces tecum for the early return of documents to CrowdStrike Holdings, Inc.,

CrowdStrike Services, Inc., and CrowdStrike, Inc. The attached subpoenas duces tecum seek the

unredacted CrowdStrike Reports, and any other reports, that were the result of CrowdStrike’s

investigation into the hacking, theft and dissemination of DNC and DCCC data.

       The Government provided three redacted reports pursuant to Federal Rule of Criminal

Procedure 16, however, the defense believes the unredacted copies likely contain evidence that is

material to the Defendant’s innocence. Since the Government has represented that it does not

have the unredacted reports, a Rule 17 subpoena is the appropriate.




                                                1
         Case 1:19-cr-00018-ABJ Document 160 Filed 07/31/19 Page 2 of 3



       Rule 17(c) provides, in relevant part:

               Producing Documents and Objects.

               (1) In General. A subpoena may order the witness to produce any
               books, papers, documents, data, or other objects the subpoena
               designates. The court may direct the witness to produce the
               designated items in court before trial or before they are to be
               offered in evidence.

       The unredacted CrowdStrike Reports are necessary to prove the materiality provision of

the perjury counts against the Defendant and counsel cannot proceed without the production in

advance of the trial. This Motion is made in good faith.

       Roger Stone respectfully requests that the Court grant his Motion and direct the Clerk of

Court to issue the attached subpoenas.

                                                     Respectfully submitted,

                                                     By: /s/_______________


L. PETER FARKAS                                 BRUCE S. ROGOW
HALLORAN FARKAS + KITTILA, LLP                  FL Bar No.: 067999
DDC Bar No.: 99673                              TARA A. CAMPION
1101 30th Street, NW                            FL Bar: 90944
Suite 500                                       BRUCE S. ROGOW, P.A.
Washington, DC 20007                            100 N.E. Third Avenue, Ste. 1000
Telephone: (202) 559-1700                       Fort Lauderdale, FL 33301
Fax: (302) 257-2019                             Telephone: (954) 767-8909
pf@hfk.law                                      Fax: (954) 764-1530
                                                brogow@rogowlaw.com
                                                tcampion@rogowlaw.com
                                                Admitted pro hac vice

ROBERT C. BUSCHEL                               GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                           STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                           D.D.C. Bar No.: FL0036
One Financial Plaza, Suite 1300                 FL Bar No.: 935212
100 S.E. Third Avenue                           401 East Las Olas Boulevard
Fort Lauderdale, FL 33394                       Suite 130-120
Telephone: (954) 530-5301                       Fort Lauderdale, FL 33301
Fax: (954) 320-6932                             Telephone: (954) 328-9064
Buschel@BGlaw-pa.com                            gsmith@strategysmith.com

                                                2
         Case 1:19-cr-00018-ABJ Document 160 Filed 07/31/19 Page 3 of 3




CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: (954) 235-8259
routmanc@gmail.com




                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on July 31, 2019 I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                                                   BUSCHEL GIBBONS, P.A.

                                                                   _/s/__________________
                                                                   Robert Buschel
    United States Attorney’s Office for the
            District of Columbia

Jessie K. Liu
United States Attorney
Jonathan Kravis
Michael J. Marando
Assistant United States Attorneys
Adam C. Jed
Aaron S.J. Zelinsky
Special Assistant United States Attorneys
555 Fourth Street, NW
Washington, DC 20530
Telephone: (202) 252-6886
Fax: (202) 651-3393




                                                3
                  Case 1:19-cr-00018-ABJ Document 160-1 Filed 07/31/19 Page 1 of 3


                                 UNITED STATES DISTRICT COURT
                                           For the District of Columbia

   United States of America                                  )
                         Plaintiff                           )
                            v.                               )      Criminal Case No. 1:19-CR-00018-ABJ
  Roger J. Stone                                             )
                                                             )
                        Defendant                            )

                     SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                OR TO PERMIT INSPECTION OF PREMISES

To:      CROWDSTRIKE HOLDINGS, INC.                              To:      CROWDSTRIKE HOLDINGS, INC.
         c/o George Kurtz                                                 c/o CSC – Lawyers Incorporating Service
         President and CEO                                                2710 Gateway Oaks Drive, Suite 150N
         CrowdStrike Holdings, Inc.                                       Sacramento, California 95833
         150 Mathilda Place, Suite 300                                    (800) 927-9800
         Sunnyvale, California 94086
         (888) 512-8906

(Production:  YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        All unredacted copies, drafts and final reports of CrowdStrike:
                DRAFT DC3FILE01 ANALYSIS DCCC
                DRAFT Incident Investigation Report DCCC
                DRAFT Incident Investigation Report Democratic National Committee
        All unredacted copies, drafts and final reports relating to the hacking, theft and dissemination of DNC and
         DCCC data.

  Place:                                                         Date and Time:

  Bruce S. Rogow, P.A.                                           20 days after day of service
  100 N.E. Third Avenue, Suite 1000
  Fort Lauderdale, FL 33301
  (954) 767-8909
 Date:

                            CLERK OF COURT                                OR


                                     Signature of Clerk or Deputy Clerk                    Attorney’s signature



 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Roger
 J. Stone , who issues or requests this subpoena, are: Bruce S. Rogow, Tara A. Campion, Bruce S. Rogow, P.A.,
 100 N.E. Third Avenue, Suite 1000, Fort Lauderdale, FL 33301; (954) 767-8909; brogow@rogowlaw.com;
 tcampion@rogowlaw.com.
                     Case 1:19-cr-00018-ABJ Document 160-1 Filed 07/31/19 Page 2 of 3


Case No. 1:19-CR-00018-ABJ

                                                      PROOF OF SERVICE
                                  (This section should not be filed with the court unless required.)

            I received this subpoena for (name of individual and title, if any)
on (date)                            .

            ❒ I served the subpoena by delivering a copy to the named person as follows:


                                                                                  on (date)                            ; or

            ❒ I returned the subpoena unexecuted because:
                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                  .

My fees are $                                  for travel and $                       for services, for a total of $


            I declare under penalty of perjury that this information is true.


Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

Additional information regarding attempted service, etc.:




        Print                        Save As...               Add Attachment
                                                                                                                              Reset
                      Case 1:19-cr-00018-ABJ Document 160-1 Filed 07/31/19 Page 3 of 3



                                                                                     (ii) disclosing an unretained expert’s opinion or information that does
(c) Place of Compliance.                                                        not describe specific occurrences in dispute and results from the expert’s

  (1) For a Trial, Hearing, or Deposition. A subpoena may command a             study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                      modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                          (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                   otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial            (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or              (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is     procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                        information:
  (B) inspection of premises at the premises to be inspected.                      (A) Documents. A person responding to a subpoena to produce documents
                                                                                must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                     must organize and label them to correspond to the categories in the demand.
                                                                                   (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney           If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps       information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the            which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include          person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who         information in more than one form.
fails to comply.                                                                   (D) Inaccessible Electronically Stored Information. The person
                                                                                responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                   of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to         order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of    reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,      made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                              requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible          26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or         (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to          (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for       material must:
compliance or 14 days after the subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                        (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the     subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                  that received the information of the claim and the basis for it. After being
                                                                                notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                          information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits            compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no   resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                    (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on       motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                            who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,             subpoena or an order related to it.
development, or commercial information; or
                  Case 1:19-cr-00018-ABJ Document 160-2 Filed 07/31/19 Page 1 of 3


                                 UNITED STATES DISTRICT COURT
                                           For the District of Columbia

   United States of America                                  )
                         Plaintiff                           )
                            v.                               )      Criminal Case No. 1:19-CR-00018-ABJ
  Roger J. Stone                                             )
                                                             )
                        Defendant                            )

                     SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                OR TO PERMIT INSPECTION OF PREMISES

To:      CROWDSTRIKE SERVICES, INC.                              To:      CROWDSTRIKE SERVICES, INC.
         c/o George Kurtz                                                 c/o CSC – Lawyers Incorporating Service
         President and CEO                                                2710 Gateway Oaks Drive, Suite 150N
         CrowdStrike Holdings, Inc.                                       Sacramento, California 95833
         150 Mathilda Place, Suite 300                                    (800) 927-9800
         Sunnyvale, California 94086
         (888) 512-8906

(Production:  YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        All unredacted copies, drafts and final reports of CrowdStrike:
                DRAFT DC3FILE01 ANALYSIS DCCC
                DRAFT Incident Investigation Report DCCC
                DRAFT Incident Investigation Report Democratic National Committee
        All unredacted copies, drafts and final reports relating to the hacking, theft and dissemination of DNC and
         DCCC data.

  Place:                                                         Date and Time:

  Bruce S. Rogow, P.A.                                           20 days after day of service
  100 N.E. Third Avenue, Suite 1000
  Fort Lauderdale, FL 33301
  (954) 767-8909
 Date:

                            CLERK OF COURT                                OR


                                     Signature of Clerk or Deputy Clerk                    Attorney’s signature



 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Roger
 J. Stone , who issues or requests this subpoena, are: Bruce S. Rogow, Tara A. Campion, Bruce S. Rogow, P.A.,
 100 N.E. Third Avenue, Suite 1000, Fort Lauderdale, FL 33301; (954) 767-8909; brogow@rogowlaw.com;
 tcampion@rogowlaw.com.
                     Case 1:19-cr-00018-ABJ Document 160-2 Filed 07/31/19 Page 2 of 3


Case No. 1:19-CR-00018-ABJ

                                                      PROOF OF SERVICE
                                  (This section should not be filed with the court unless required.)

            I received this subpoena for (name of individual and title, if any)
on (date)                            .

            ❒ I served the subpoena by delivering a copy to the named person as follows:


                                                                                  on (date)                            ; or

            ❒ I returned the subpoena unexecuted because:
                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                  .

My fees are $                                  for travel and $                       for services, for a total of $


            I declare under penalty of perjury that this information is true.


Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

Additional information regarding attempted service, etc.:




        Print                        Save As...               Add Attachment
                                                                                                                              Reset
                      Case 1:19-cr-00018-ABJ Document 160-2 Filed 07/31/19 Page 3 of 3



                                                                                     (ii) disclosing an unretained expert’s opinion or information that does
(c) Place of Compliance.                                                        not describe specific occurrences in dispute and results from the expert’s

  (1) For a Trial, Hearing, or Deposition. A subpoena may command a             study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                      modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                          (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                   otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial            (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or              (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is     procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                        information:
  (B) inspection of premises at the premises to be inspected.                      (A) Documents. A person responding to a subpoena to produce documents
                                                                                must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                     must organize and label them to correspond to the categories in the demand.
                                                                                   (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney           If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps       information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the            which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include          person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who         information in more than one form.
fails to comply.                                                                   (D) Inaccessible Electronically Stored Information. The person
                                                                                responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                   of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to         order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of    reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,      made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                              requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible          26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or         (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to          (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for       material must:
compliance or 14 days after the subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                        (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the     subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                  that received the information of the claim and the basis for it. After being
                                                                                notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                          information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits            compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no   resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                    (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on       motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                            who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,             subpoena or an order related to it.
development, or commercial information; or
                  Case 1:19-cr-00018-ABJ Document 160-3 Filed 07/31/19 Page 1 of 3


                                  UNITED STATES DISTRICT COURT
                                            For the District of Columbia

   United States of America                                    )
                          Plaintiff                            )
                             v.                                )      Criminal Case No. 1:19-CR-00018-ABJ
  Roger J. Stone                                               )
                                                               )
                         Defendant                             )

                      SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                 OR TO PERMIT INSPECTION OF PREMISES

To:      CROWDSTRIKE, INC.                               To:               CROWDSTRIKE, INC.
         c/o George Kurtz                                                  c/o CSC – Lawyers Incorporating Service
         President and CEO                                                 2710 Gateway Oaks Drive, Suite 150N
         CrowdStrike Holdings, Inc.                                        Sacramento, California 95833
         150 Mathilda Place, Suite 300                                     (800) 927-9800
         Sunnyvale, California 94086
         (888) 512-8906

(Production:  YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

        All unredacted copies, drafts and final reports of CrowdStrike:
                DRAFT DC3FILE01 ANALYSIS DCCC
                DRAFT Incident Investigation Report DCCC
                DRAFT Incident Investigation Report Democratic National Committee
        All unredacted copies, drafts and final reports relating to the hacking, theft and dissemination of DNC and
         DCCC data.

  Place:                                                           Date and Time:

  Bruce S. Rogow, P.A.                                             20 days after day of service
  100 N.E. Third Avenue, Suite 1000
  Fort Lauderdale, FL 33301
  (954) 767-8909
 Date:

                             CLERK OF COURT                                OR


                                      Signature of Clerk or Deputy Clerk                    Attorney’s signature



 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Roger
 J. Stone , who issues or requests this subpoena, are: Bruce S. Rogow, Tara A. Campion, Bruce S. Rogow, P.A.,
 100 N.E. Third Avenue, Suite 1000, Fort Lauderdale, FL 33301; (954) 767-8909; brogow@rogowlaw.com;
 tcampion@rogowlaw.com.
                     Case 1:19-cr-00018-ABJ Document 160-3 Filed 07/31/19 Page 2 of 3


Case No. 1:19-CR-00018-ABJ

                                                      PROOF OF SERVICE
                                  (This section should not be filed with the court unless required.)

            I received this subpoena for (name of individual and title, if any)
on (date)                            .

            ❒ I served the subpoena by delivering a copy to the named person as follows:


                                                                                  on (date)                            ; or

            ❒ I returned the subpoena unexecuted because:
                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                  .

My fees are $                                  for travel and $                       for services, for a total of $


            I declare under penalty of perjury that this information is true.


Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

Additional information regarding attempted service, etc.:




        Print                        Save As...               Add Attachment
                                                                                                                              Reset
                      Case 1:19-cr-00018-ABJ Document 160-3 Filed 07/31/19 Page 3 of 3



                                                                                     (ii) disclosing an unretained expert’s opinion or information that does
(c) Place of Compliance.                                                        not describe specific occurrences in dispute and results from the expert’s

  (1) For a Trial, Hearing, or Deposition. A subpoena may command a             study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                      modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                          (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                   otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial            (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or              (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is     procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                        information:
  (B) inspection of premises at the premises to be inspected.                      (A) Documents. A person responding to a subpoena to produce documents
                                                                                must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                     must organize and label them to correspond to the categories in the demand.
                                                                                   (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney           If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps       information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the            which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include          person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who         information in more than one form.
fails to comply.                                                                   (D) Inaccessible Electronically Stored Information. The person
                                                                                responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                   of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to         order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of    reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,      made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                              requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible          26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or         (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to          (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for       material must:
compliance or 14 days after the subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                        (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the     subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                  that received the information of the claim and the basis for it. After being
                                                                                notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                          information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits            compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no   resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                    (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on       motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                            who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,             subpoena or an order related to it.
development, or commercial information; or
        Case 1:19-cr-00018-ABJ Document 160-4 Filed 07/31/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                               Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

              Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                                          ORDER

       Before the Court is Roger J. Stone’s Motion for an Order permitting him to issue a

subpoena duces tecum for the early return of documents to the United States House of

Representatives, pursuant to Federal Rule of Criminal Procedure 17(c). The Court, having

reviewed the Motion and otherwise being fully advised

       IT IS ORDERED AND ADJUGED that the Defendant’s Motion for issuance of a

subpoena duces tecum is hereby GRANTED. The Clerk of Court is Ordered to issue the

Subpoena as drafted.

       DONE AND ORDERED in Washington, DC, this _____ day of ____, 2019.



                                                        _______________________________
                                                        AMY BERMAN JACKSON
                                                        United States District Judge

cc:    all counsel of record
